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15

16                               UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA
18   SAGE HUMPHRIES, GINA MENICHINO,
     ROSEMARIE DeANGELO, DANIELLE
19   GUTIERREZ, JANE DOE 1,
     and JANE DOE 2                                Case Number: 2:21-cv-01412-ART-EJY
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                   Plaintiffs,                     DECLARATION OF JANE DOE 1 IN
21                                                 SUPPORT OF PLAINTIFFS’ MOTION
            vs.                                    FOR SUMMARY JUDGMENT
22
     MITCHELL TAYLOR BUTTON and
23   DUSTY BUTTON,
24                 Defendants.
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                       DECLARATION OF JANE DOE 1 IN SUPPORT OF
                      PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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 1   I, Jane Doe 1, declare as follows:
 2          1.      I am Jane Doe 1, a Plaintiff in the above-captioned action.
 3          2.      Defendants have filed a defamation counterclaim against me for the following
 4   statement:
 5          I am grateful to my fellow dancers for bravely bringing this action and for giving
 6          me the courage to come forward and speak out about the abuse I endured...
            Together we can stop the accused – our abusers – from ever damaging another
 7          young, vulnerable dancer.

 8          3.      This statement is true.

 9          4.      I subjectively believe these statements are true.

10          5.      To the best of my knowledge and belief, I did not provide any information to

11   reporters beyond information that was already accessible in my complaint against Defendants.

12          I declare under penalty of perjury that the foregoing is true and correct to the best of my

13   knowledge and belief.

14   Dated: January 6, 2025

15                                                    /s/ Jane Doe 1
                                                      Jane Doe 1
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                        DECLARATION OF JANE DOE 1 IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
